Case 4:22-cv-00059-DN Document 113-10 Filed 03/02/23 PageID.6754 Page 1 of 10




                         IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF UTAH


 GARFIELD COUNTY, UTAH, a Utah
 political subdivision; KANE COUNTY,
 UTAH, a Utah political subdivision; and THE
 STATE OF UTAH, by and through its
 Governor, SPENCER J. COX, and its
 Attorney General, SEAN D. REYES;
                  Plaintiffs,                         Case No. 4:22-cv-00059-DN-PK (lead case)
                                                      Case No. 4:22-cv-00060-DN-PK
 ZEBEDIAHEDIAH GEORGE DALTON;
 BLUERIBBON COALITION; KYLE                           District Judge David Nuffer
 KIMMERLE; and SUZETTE RANEA                          Magistrate Judge Paul Kohler
 MORRIS;
           Consolidated Plas,
 v.
 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States, et
 al.,

                   Defendants,

 HOPI TRIBE, NAVAJO NATION, PUEBLO
 OF ZUNI, and UTE MOUNTAIN UTE
 TRIBE;

                 Intervenor-Dfts.



                        DECLARATION OF MICHAEL J. LUNDELL

I, Michael J. Lundell, in accordance with 28 U.S.C. § 1746, declare as follows:

       1.      I am the acting Bears Ears National Monument (BENM or Monument) Manager

for the Bureau of Land Management (BLM), an agency of the Department of the Interior. I have

been acting in the position of Monument Manager since September 25, 2022. In my 13-year

BLM career, I have served at the project, field, district, state, and national levels of the agency. I

                                                  1
Case 4:22-cv-00059-DN Document 113-10 Filed 03/02/23 PageID.6755 Page 2 of 10




started as a Recreation Technician in Kanab, Utah in 2008, where I worked for the Grand

Staircase-Escalante National Monument. Approximately six months later, I started working as an

Archaeological Technician for the Grand Staircase-Escalante National Monument. I then

attended graduate school at Northern Arizona University where I received my Master of Arts in

anthropology with a focus in archaeology and cultural resource management. In 2012, I started

my permanent career with the BLM as an Archaeologist for the Richfield Field Office. In the

BLM, I have worked in various positions ranging from Archaeologist, Acting Senior

Archaeologist, Acting Deputy Preservation Officer, and Acting Monument Manager.

       2.      Prior to beginning my current detail as the BENM Manager, I served as the

BENM Archaeologist from October 14, 2018, to September 25, 2022.

       3.      As Acting BENM Manager, I am responsible for directing employees assigned to

the monument and coordinating with many other professional staff in the management of

approximately 1.5 million acres of federal public land and associated resources within BENM in

the State of Utah. I work collaboratively with many interested parties, including state and local

governments, as well as other federal agencies, tribal governments, and the Bears Ears

Commission to address many complex resource management issues.

       4.      I have reviewed the Plaintiffs’ amended complaints concerning Proclamations

10,285 and 10,286 and pertinent agency documents.

       5.      The purpose of this Declaration is to provide the Court with additional

information in support of the Federal Defendants’ Motion to Dismiss. The facts set forth in this

Declaration are based upon my personal knowledge and records kept in the ordinary course of

the BLM’s business.




                                                 2
Case 4:22-cv-00059-DN Document 113-10 Filed 03/02/23 PageID.6756 Page 3 of 10




       6.      On November 9, 2004, Drilling Consultants, Inc. located the Avalanche mining

claims. The claims were located on lands managed by the U.S. Forest Service that are now

within the boundaries of BENM. Drilling Consultants, Inc. forfeited the Avalanche mining

claims by failing to pay the annual filing fee associated with each claim. The claims have been

closed since September 1, 2010.

       7.      Over the years, multiple claims with some variation of the name “Spring Water”

have been located on public lands managed by the BLM that are now within the BENM. Most of

those claims have been closed since at least September 1, 2015, prior to the initial designation of

BENM. The Spring Water #4 claim, which was located on September 29, 2017, is on BLM-

managed public lands that are now within BENM. The Spring Water #4 claim remains active and

could experience mineral development if the BLM receives a plan of operations and determines

in accordance with 43 C.F.R. § 3809.100(a), after preparing a mineral examination report, that

the Spring Water # 4 claim was valid before the lands on which they are located were withdrawn

and remains valid.

       8.      Kimmerle Mining, LLC maintains four groups of mining claims that, collectively,

are known as the Geitus claims. The Geitus claims cover approximately 432 acres and are

located within BENM, just northwest of Natural Bridges National Monument.

       9.      Resources protected by Proclamation 10,285 are situated within the tracts of land

subject to the Geitus claims. This includes habitation structures with associated artifact scatters

documented in recorded cultural sites corresponding to the Pueblo I-III periods (from

approximately 750 to 1350 CE). However, my ability to provide detailed information concerning

these sites in the absence of an appropriate protective order is limited by section 9 of the

Archaeological Resources Protection Act, 16 U.S.C. § 470hh, which restricts the BLM’s ability



                                                  3
Case 4:22-cv-00059-DN Document 113-10 Filed 03/02/23 PageID.6757 Page 4 of 10




to make available to the public information concerning the nature and location of archaeological

resources.

       10.     TY Cattle Company LLC, which is owned and operated by Zebediah Dalton,

holds a livestock grazing permit for the Lake Canyon Allotment. Approximately 47% of the

Lake Canyon Allotment’s approximately 395,882 acres are in BENM. The Lake Canyon

Allotment is the largest livestock grazing allotment in BENM. The location of the Lake Canyon

Allotment is reflected in the below map, which also reflects the location of several resources

protected by Proclamation 10,285:




       11.     Several resources that are protected by Proclamation 10,285 are located within the

Lake Canyon Allotment, including portions of the Red House Cliffs, Mancos Mesa, Moqui
                                                4
Case 4:22-cv-00059-DN Document 113-10 Filed 03/02/23 PageID.6758 Page 5 of 10




Canyon, and Mike’s Canyon. Additionally, Salvation Knoll, “a point from which lost Latter-Day

Saint pioneers were able to obtain their bearings on Christmas Day in 1879,” Proclamation

10285—Bears Ears National Monument, 86 Fed. Reg. 57,321, 57,328 (Oct. 15, 2021), and

portions of the Hole in the Rock Trail are located within the Lake Canyon Allotment. Numerous

additional objects of historic or scientific interest protected by the Proclamation are included

within the Lake Canyon Allotment, but the Archaeological Resources Protection Act, 16 U.S.C.

§ 470hh, restricts the BLM’s ability to make available to the public information concerning the

nature and location of those resources.

       12.     Since the issuance of Proclamation 10,285, the BLM has continued to work on

processing applications for range improvement projects within BENM, as the proclamation does

not prohibit the BLM from authorizing range improvements projects within the boundaries of the

Monument. The BLM is currently analyzing six different range improvements projects within

the Monument’s boundaries in accordance with the National Environmental Policy Act (NEPA)

and other applicable laws. In total, the six range improvement projects would include the

construction of approximately 16 water wells, 15 ponds, and several new fences within BENM.

To date, the BLM has released preliminary environmental assessments associated with three of

the six proposals for public comment. See BLM NEPA Register, Red House Pasture Water

Wells, available at https://eplanning.blm.gov/eplanning-ui/project/1505645/570 (last visited

March 2, 2023); BLM NEPA Register, Slickhorn Allotment Water Wells, available at

https://eplanning.blm.gov/eplanning-ui/project/2003814/570 (last visited March 2, 2023); and

BLM NEPA Register, Indian Creek Allotment Range Improvements, available at

https://eplanning.blm.gov/eplanning-ui/project/112998/570 (last visited March 2, 2023).




                                                 5
Case 4:22-cv-00059-DN Document 113-10 Filed 03/02/23 PageID.6759 Page 6 of 10




       13.      The issuance of Proclamation 10,285 did not change the process by which

Zebediah Dalton or any other livestock grazing permittees apply to the BLM for authorization to

construct range improvements on public lands. While it is true that, because of Proclamation

10,285, the BLM must determine that a range improvement is consistent with the protection of

monument objects, that does not mean that the BLM is barred from authorizing range

improvements. As explained above, the BLM is actively evaluating the environmental impacts

of several range improvement projects within BENM in accordance with NEPA.

       14.      The BLM has not denied any applications related to range improvements

submitted by Zebediah Dalton or T Y Ranch since the issuance of Proclamation 10,285 in

October 2021.

       15.      The BLM is currently processing two applications submitted by Zebediah Dalton

on behalf of T Y Ranch. The first application relates to the construction of six water wells and

was submitted to the BLM in 2018. Since receiving the application, the BLM has reviewed the

project, coordinated with interested publics, and released a preliminary environmental

assessment for public comment in May 2022. See BLM National NEPA Register, Red House

Pasture Water Wells, available at https://eplanning.blm.gov/eplanning-ui/project/1505645/570

(last visited March 2, 2023). The BLM is currently working on responses to the public comments

received by the agency.

       16.      The second application, submitted by Zebediah Dalton on March 13, 2019, on

behalf of the T Y Ranch, seeks a right-of-way under Title V of the Federal Land Policy and

Management Act to move drilling equipment across BLM-managed public land to access a

parcel owned by the State of Utah School and Institutional Trust Lands Administration (SITLA).

The requested right of way would cross a Wilderness Study Area that the BLM is required to



                                                 6
Case 4:22-cv-00059-DN Document 113-10 Filed 03/02/23 PageID.6760 Page 7 of 10




manage “in a manner so as not to impair the suitability of such areas for preservation as

wilderness.” 43 U.S.C. § 1782(c). The BLM deemed that application complete on June 7, 2019.

Although the BLM initiated the NEPA process, the agency has made little progress processing

the application since early 2020 due to staffing constraints, not Proclamation 10,285. In general,

applications from third parties that present unique land management complexities, such as

engaging in cross-country motorized vehicle use in an area where the BLM is statutorily

obligated to not impair the suitability of such areas for preservation as wilderness, typically take

longer to process than applications seeking more common types of authorization. It is not

uncommon for such applications to take several years to process.

       17.     The BLM sent an email to Zebediah Dalton on January 5, 2023, asking whether

he has and would share pump test information for certain wells located outside the exterior

boundaries of BENM. The BLM requested this information because it was working on an

environmental assessment for two wells on a different livestock grazing allotment, and the

information would provide the BLM with insight into the status of the local aquifer. Zebediah

Dalton never responded to the BLM’s January 5, 2023, email.

       18.     In April 2022, Zebediah Dalton contacted the BLM about receiving authorization

to cross BLM-managed public lands to access two SITLA parcels in Red Canyon. The BLM-

managed public lands that Mr. Dalton was seeking to cross are not located in BENM. In

December 2022, the BLM informed Mr. Dalton that he would need to obtain a right-of-way to

cross the BLM-managed public lands and access the two SITLA parcels in Red Canyon because

a portion of his proposed route would require cross-country motorized vehicle use that had not

been previously authorized through a right-of-way. By comparison, in March 2022—months

after issuance of Proclamation 10,285—the BLM provided Mr. Dalton with administrative



                                                  7
Case 4:22-cv-00059-DN Document 113-10 Filed 03/02/23 PageID.6761 Page 8 of 10




access to cross BLM-managed public lands to access different SITLA parcels because in that

instance, the only cross-country portion of Mr. Dalton’s proposed route was covered by a

previously issued (but then expired) right-of-way. In sum, the requirement for Mr. Dalton to

obtain a right-of-way to cross BLM-managed public lands to access two SITLA parcels in Red

Canyon stemmed from whether Mr. Dalton’s proposed cross-country routes were covered by a

previously issued right-of-way and was unrelated to the issuance of Proclamation 10,285.

       19.     Proclamation 10,285 does not prohibit the BLM from authorizing vegetation

treatment or hazardous fuels reduction projects within the boundaries of BENM. Indeed, the

agency is currently analyzing a fuels reduction retreatment and maintenance project on

approximately 1844 acres located within the Monument. See BLM National NEPA Register,

Shay Mesa Retreatment/Maintenance, available at https://eplanning.blm.gov/eplanning-

ui/project/2016895/510 (last visited March 2, 2023). The proposed project, which would involve

removing pinyon and juniper that has been regenerating near Shay Mesa, would promote grass,

forb, and shrub potential while reducing fire severity within the area. The BLM released the

preliminary environmental assessment associated with the project for a 30-day public comment

period on August 3, 2022.

       20.     The BLM authorizes commercial, competitive, and group recreation uses of the

public lands and related waters through the issuance of special recreation permits (SRPs). The

BLM issues SRPs in accordance with 43 C.F.R. subpart 2932. The BLM may issue an SRP for

any duration, up to a maximum of 10 years. 43 C.F.R. § 2932.42. SRPs that are issued for more

than one year are subject to annual validation by the BLM.

       21.     In 2022, the BLM issued six annual validation letters to permittees with pre-

existing, multi-year SRPs that authorize off-highway vehicle (OHV) rides in BENM. In 2022,



                                                8
Case 4:22-cv-00059-DN Document 113-10 Filed 03/02/23 PageID.6762 Page 9 of 10




the BLM also renewed a 10-year SRP that allows for OHV rides in the Monument. All seven

permittees are authorized to use multiple routes within or partially within BENM as part of their

authorized OHV rides. Three of the permittees are authorized to conduct one-time, annual

events. The other four permittees are authorized to conduct small-scale, regular OHV tours

throughout the year on routes within or partially within BENM that are designated as open in the

current travel management plan.

       22.     To my knowledge, no BLM employee or representative has sought to prevent

search-and-rescue personnel from entering closed roads, going off trails, or landing medical

helicopters or demanded that alternative measures be used to protect items identified by

Proclamation 10,285 as monument objects. BLM personnel regularly assist with search and

rescue operations in BENM. In instances where BLM personnel have arrived on scene and

assessed the situation before the San Juan County search-and-rescue team arrived, they may have

provided information that informed the search-and-rescue team’s decision not to proceed with a

helicopter extraction because of potential expense, risk to personal safety, or other factors

influenced by local conditions. However, the BLM has never required that a helicopter extraction

not occur, or that alternative measures must be utilized, to ensure consistency with Proclamation

10,285.

       23.     To date, the BLM has not received any applications from the State of Utah to

construct or access water development well projects on lands managed by SITLA near Mancos

Mesa or Grand Gulch.

       24.     Most visitation to BENM occurs from March through October, with the Spring

and Fall experiencing the highest amount of visitation.




                                                 9
Case 4:22-cv-00059-DN Document 113-10 Filed 03/02/23 PageID.6763 Page 10 of 10




 Executed this 2nd day of March 2023, in Monticello, Utah.


 MICHAEL Digitally        signed by
                  MICHAEL LUNDELL
                  Date: 2023.03.02
 LUNDELL
 _______________________________
                  17:16:19 -07'00'



 Michael J. Lundell

 Acting Bears Ears National Monument Manager




                                              10
